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                      IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF UTAH


 SECURITIES AND EXCHANGE                               FIFTEENTH INTERIM FEE
 COMMISSION,                                       APPLICATION FOR RECEIVER AND
                                                     RECEIVER’S PROFESSIONALS
                       Plaintiff.
                                                    FOR SERVICES RENDERED FROM
        v.                                            OCTOBER 1, 2021 THROUGH
                                                          DECEMBER 31, 2021
 TRAFFIC MONSOON, LLC, a Utah Limited
 Liability Company, and CHARLES DAVID                         2:16-cv-00832-JNP
 SCOVILLE, an individual,
                                                          The Honorable Jill N. Parrish
                       Defendants.


       Peggy Hunt, the Court-appointed Receiver (the “Receiver”) of Traffic Monsoon, LLC

(“Traffic Monsoon”) and the assets of Charles David Scoville (“Scoville” and, together with

Traffic Monsoon, the “Defendants”) that were obtained directly or indirectly from Traffic

Monsoon, hereby submits this interim “Fee Application,” seeking approval by the Court of fees

and expenses incurred by the Receiver; the Receiver’s counsel, Greenberg Traurig, LLP

(“Greenberg”) and Gowling WLG (Canada) LLP (“Gowling”); and the Receiver’s accountants,

Berkeley Research Group, LLC (“BRG”), for the period of October 1, 2021 through December
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31, 2021 (the “Application Period”) and authorization to pay all allowed fees and expenses from

funds of the Receivership Estate. The Receiver respectfully submits that the Application should

be approved. In support hereof, the Receiver states as follows:

I.         CASE BACKGROUND

           1.        On July 26, 2016, the above-captioned case was commenced by the United States

Securities and Exchange Commission (the “SEC”) against the Defendants, alleging violations of

federal securities laws. On that same day, the Court entered a Temporary Restraining Order and

Order Freezing Assets, which was amended, in relevant part, on July 27, 2016 and on November

4, 2016. 1

                                             Relevant Orders

           2.        On July 27, 2016, the Court entered an Order Appointing Receiver (the

“Receivership Order”), 2 thereby appointing the Receiver and stating in paragraphs 19 and 20 as

follows:

           19.     The Receiver is authorized to employ professionals to assist her in carrying
           out the duties and responsibilities described in this Order. The Receiver shall not
           engage any professionals without first obtaining an Order of the Court authorizing
           such engagement. The Receiver is authorized to retain Dorsey & Whitney LLP, a
           firm in which the Receiver is a partner, as the Receiver’s counsel in this matter.

           20.     The Receiver and Retained Professionals are entitled to reasonable
           compensation and expense reimbursement from the receivership estate as described
           in the “Billing Instructions for Receivers in Civil Actions commenced by the U.S.
           Securities and Exchange Commission (the “Billing Instructions”) agreed to by the
           Receiver. Such compensation shall require the prior approval of the Court.




1
    Docket Nos. 8, 14 & 56.
2
    Docket No. 11.



                                                     2
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           3.         The Court thereafter entered an Order Granting Receiver’s Ex Parte Motion

Seeking Authorization to Employ Accountants, 3 authorizing the Receiver’s employment of BRG

effective as of September 2, 2016.

           4.         On March 28, 2017, the Court entered, among other things, a Preliminary

Injunction 4 and an Amended Order Appointing Receiver (the “Amended Receivership Order”). 5

The Amended Receivership Order restates, without making substantive changes to, paragraphs

19 and 20 of the Receivership Order quoted in ¶ 2 above. 6

           5.         On June 13, 2017, the Court entered an Order Establishing Administrative

Expense Payment Procedures (the “Fee Procedures Order”), 7 setting forth procedures for the

request and payment of professional fees and expenses in this case. This Fee Application is an

“Interim Fee Application” within the meaning of ¶ 10 of the Fee Procedures Order and is

intended to meet the criteria of ¶¶ 11 through 15 of that Order.

           6.         On February 16, 2018, the Court entered a Second Amended Order Appointing

Receiver (the “Second Amended Order”), which did not affect billing and fee allowance

procedures as set forth in the above-mentioned Orders, except that paragraph 5 of the Order

requires that the Receiver “obtain prior approval from this court before using Receivership

Assets to present arguments on the merits of the [SEC’s] claims against Traffic Monsoon and




3
    Docket No. 25.
4
    Docket No. 79.
5
    Docket No. 81.
6
    Id. (Amended Receivership Order ¶¶ 17-18).
7
    Docket No. 101.



                                                      3
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Scoville in the above captioned action . . . or in any appeals from orders or judgments of this

court.” 8

           7.         The Court entered an Order Conditionally Granting Receiver’s Ex Parte Motion

Seeking Authorization to (1) Employ Greenberg Traurig, LLP, as Receiver’s Counsel and (2) to

Retain Dorsey & Whitney LLP as Special Counsel on a Limited Matter, 9 authorizing the

Receiver’s employment of Greenberg effective as of May 7, 2020 (the “2020 Employment

Order”).

           8.         As set forth in Greenberg’s invoices attached hereto, Greenberg has applied

billing rates consistent with the 2020 Employment Order.

           9.         On April 29, 2021, the Court entered an Order Granting Receiver’s Verified Ex

Parte Motion Seeking Authorization to Employ Canadian Counsel, 10 authorizing the Receiver to

employ Gowling.

                                       Notices of Requests for Payment

           10.        During the Application Period, the Receiver filed three Notices of Request for

Payment pursuant ¶¶ 1–5 of the Fee Procedures Order, seeking payment of fees and

reimbursement of costs for the months of October, November, and December 2021 (the

“Monthly Requests”). 11




8
    Docket No. 120.
9
    Docket No. 258.
10
     Docket No. 327
11
     Docket Nos. 397, 422, & 447.



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           11.     No objections to the Monthly Requests were filed and, accordingly, pursuant to

¶ 8 of the Fee Procedures Order, the Receiver paid 80% of the fees requested therein and

reimbursed all out-of-pocket expenses.

           12.     A summary of payments made to the Receiver and each of the Professionals

pursuant to the Monthly Requests is included in Exhibit 1.

                                         Relevant Status Report

           13.     On February 15, 2022, the Receiver filed her Fifteenth Status Report (the “Status

Report”). 12 The Status Report outlines the work done by the Receiver and her professionals

during the current Application Period and is incorporated herein by reference.

II.        FEES AND EXPENSES REQUESTED ARE ACTUAL, NECESSARY AND
           REASONABLE FOR THE SERVICES RENDERED

           14.     During the Application Period, significant professional services were required to

perform the work outlined in the Status Report incorporated herein.

           15.     The Receiver and her professionals have provided actual and necessary services

related to the matters summarized in the Status Report and detailed in the Exhibits attached

hereto for the benefit of the Receivership Estate. Out-of-pocket expenses were also incurred by

the professionals in rendering services to the Receivership Estate.

           16.     Greenberg, Gowling, and BRG have submitted their invoices to the Receiver. The

Receiver reviewed the invoices and, when necessary, requested adjustments to the fees or

expenses requested. The Receiver also reviewed her time records and adjustments were made




12
     Docket No. 457.



                                                    5
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when necessary. The invoices included in the Monthly Requests are the invoices that have been

approved by the Receiver and the Receiver knows of no dispute related to the requests made.

       17.     The Fee Application complies with the SEC’s Billing Instructions. In accordance

with ¶ 12 of the Fee Procedures Order and the SEC Billing Instructions, the Receiver submitted

this Fee Application to the SEC prior to filing it with the Court, and the SEC has informed the

Receiver that it has no objection to the payment of the fees or reimbursement of the expenses

outlined herein.

       18.     With any adjustments made, the Receiver believes that the fees and expenses are

reasonable, especially in light of the work that has been done during the Application Period as

outlined in the Status Report. She also believes that the services rendered and the expenses

advanced have been beneficial to the Receivership Estate.

III.   SUMMARY OF EXHIBITS

       19.     Professional services have been recorded contemporaneously with services being

rendered and these services, as well as the expenses incurred, are detailed in the attached

Exhibits described below.

       20.     The Receiver and her professionals have billed their time according to topical

tasks noted in their respective invoices, and time is billed chronologically based on task.

       21.     The following Exhibits are attached hereto in support of this Fee Application:




                                                 6
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                                                    Exhibit 113

                   Exhibit 1-A               Receiver Summary of Fees and Expenses for the
                                             Application Period

                   Exhibit 1-B               Greenberg Summary of Fees and Expenses for the
                                             Application Period

                   Exhibit 1-C               Gowling Summary of Fees and Expenses for the
                                             Application Period

                   Exhibit 1-D               BRG Summary of Fees and Expenses for the Application
                                             Period

                                                     Exhibit 2
                         Monthly Request for October 1 through October 31, 2021 14

                                                     Exhibit 3

                       Monthly Request for November 1 through November 30, 2021 15

                                                     Exhibit 4

                       Monthly Request for December 1 through December 31, 2021 16

IV.        SUMMARY OF AMOUNTS REQUESTED

           22.     The Receiver is requesting allowance of all fees and out-of-pocket expenses

discussed below. Although allowance is sought of all fees and expenses, the Receiver will pay

only those sums outstanding as set forth below because a portion of the fees and expenses have

already been paid as requested in the unopposed Monthly Requests and as authorized by the Fee

Procedures Order.


13
   Each of the Summaries in Exhibit 1 include, among other things, a total of the fees and costs requested, with a
cross reference to the Exhibits referenced below containing the professional’s contemporaneous time records for
such fees and costs.
14
     Docket No. 397.
15
     Docket No. 422.
16
     Docket No. 447.



                                                          7
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           23.       The Receivership Estate has sufficient funds to pay all amounts requested. 17

                                                    Receiver

           24.       From October 1, 2021 through the end of the Application Period on December 31,

2021, the Receiver has worked a total of 32.7 hours providing receivership services to the

Receivership Estate for which fees in the total amount of $11,589.30 have been incurred. 18

           25.       Of that amount, $9,271.44 has already been paid pursuant to the unopposed

Monthly Requests and, therefore, a total of $2,317.86 remains outstanding. 19

                                                   Greenberg

           26.       From October 1, 2021 through the end of the Application Period on December 31,

2021, Greenberg worked a total of 306.1 hours and provided legal services to the Receivership

Estate for which fees in the total amount of $125,374.00 and out-of-pocket expenses in the total

amount of $1,785.68 have been incurred after reductions. 20

           27.       Of that amount, $102,084.88 has already been paid pursuant to the unopposed

Monthly Requests and, therefore, a total of $25,074.80 remains outstanding. 21

           28.       The amount requested includes reductions made by Greenberg in an exercise of

its billing judgment and/or at the request of the Receiver or the SEC. Greenberg has reduced its

fees in the total amount of $5,049.00 for the Application Period. 22 Not reflected in these




17
     See Docket No. 457 (Status Report & Exh. 1 (SFAR)).
18
     See Exhs. 1-A, 2-A, 3-A, and 4-A.
19
     See Exh. 1-A.
20
     See Exhs. 1-B, 2-B, 3-B, and 4-B.
21
     See Exh. 1-B.
22
     See Exh. 1-B.



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reductions is the fact that the rates applied are far below the relevant attorneys’ actual Salt Lake

City, Utah market rates and do not account for their years of experience or their specialized

knowledge of matters related to this case.

                                                    Gowling

           29.       From October 1, 2021 through the end of the Application Period on December 31,

2021, Gowling worked a total of 1.2 hours 23 and provided legal services to the Receivership

Estate for which fees in the total amount of $432.14 and out-of-pocket expenses in the total

amount of $425.33 have been incurred. 24

           30.       Of that amount, $771.04 has already been paid pursuant to the unopposed

Monthly Requests and, therefore, a total of $86.43 remains outstanding. 25

                                                      BRG

           31.       From October 1, 2021 through the end of the Application Period on December

31, 2021, BRG worked a total of 64.8 hours providing forensic and general accounting services

to the Receivership Estate for which fees in the total amount of $18,222.00 and out-of-pocket

expenses in the total amount of $201.06 have been incurred after reductions. 26

           32.       Of that amount, $14,778.66 has already been paid pursuant to the unopposed

Monthly Requests and, therefore, a total of $3,644.40 remains outstanding. 27



23
  There was a typo in the November 2021 Monthly Notice that states Gowling provided 4.4 hours of service;
however, as evidenced by its fee statement attached thereto as Exhibit C, Gowling's total hours for November 2021
was 1.2 hours. This error did not affect any of the monetary values.
24
     See Exhs. 1-C, 3-C, and 4-C
25
     See Exh. 1-C.
26
     See Exhs. 1-D, 2-C, 3-D, and 4-D.
27
     See Exh. 1-D.



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           33.       The amount requested includes reductions made by BRG in an exercise of its

billing judgment and/or at the request of the Receiver or the SEC. BRG has reduced its fees in

the total amount of $2,460.00 for the Application Period. 28

V.         PRIOR APPLICATIONS AND INTERIM NATURE OF REQUEST

           34.       This is the fifteenth Fee Application of the Receiver and her professionals.

           35.       The Court has previously entered Orders authorizing the Receiver’s Interim

Applications for the periods of July 27, 2016 through September 30, 2021. 29

           36.       The Receiver and her professionals understand that authorization and payment of

fees and expenses is interim in nature. All fees and expenses allowed on an interim basis will be

subject to final review at the close of the case and the discharge of the Receiver when the

Receiver files a final accounting and fee application.

VI.        REQUEST FOR COURT APPROVAL

           37.       For the reasons set forth above and as supported by the Exhibits attached hereto,

the Receiver respectfully submits that the fees and expenses requested herein are for actual

services that were necessary for and beneficial to the administration of the Receivership Estate.

The Receiver has made every attempt to contain the administrative expenses of this Receivership

Estate, and she submits that given the work that has been performed as outlined in her Status

Report, the fees and expenses of all professionals that have been incurred are reasonable.




28
     See Exh. 1-D.
29
     Docket Nos. 100, 107, 119, 163, 164, 209, 246, 276, 282, 310, 334, and 384.



                                                          10
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       38.    Thus, the Receiver respectfully submits this Fee Application and requests that the

Court enter an Order allowing the fees and expenses requested herein. She also requests that the

Court authorize her to pay allowed fees and expenses from funds of the Receivership Estate to

the extent those fees and expenses have not been paid to date in accordance with the Fee

Procedures Order.



                                   [Signature Page Follows]




                                               11
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    DATED February 25, 2022.
                                          RECEIVER


                                          /s/ Peggy Hunt
                                          Peggy Hunt

                                          GREENBERG TRAURIG, LLP


                                          /s/ Michael F. Thomson
                                          Michael F. Thomson
                                          Counsel for Receiver

                                          GOWLING WLG
                                          /s/ Jacques J.M. Shore
                                          ______________________________________________________

                                          Jacques J.M. Shore
                                          Counsel for Receiver

                                          BERKELEY RESEARCH GROUP


                                          /s/ Kathleen E. Koppenhoefer___
                                          Kathleen E. Koppenhoefer
                                          Vice President & Deputy General Counsel
                                          Accountants for Receiver




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                                CERTIFICATE OF SERVICE

      I hereby certify that on this 25th day of February, 2022, I caused the foregoing
FIFTEENTH INTERIM FEE APPLICATION FOR RECEIVER AND RECEIVER’S
PROFESSIONALS FOR SERVICES RENDERED FROM OCTOBER 1, 2021
THROUGH DECEMBER 31, 2021 to be electronically filed with the Clerk of the Court using
the CM/ECF system which will send notification of the filing to all counsel of record in this case.


                                                         /s/ Candy Long


     I further certify that on this 25th day of February, 2022, I caused the foregoing
FIFTEENTH INTERIM FEE APPLICATION FOR RECEIVER AND RECEIVER’S
PROFESSIONALS FOR SERVICES RENDERED FROM OCTOBER 1, 2021
THROUGH DECEMBER 31, 2021 to be emailed to the following:

       fronkc@sec.gov
       combst@sec.gov
       moric@sec.gov
                                                         /s/ Candy Long
